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this district for consideration and resolution consistent with

law.    Because this action, as it is now postured, is a proceeding

arising under Title 11 and related to cases under Title 11, it

has automatically been referred by Miscellaneous Order No. 33 to

the Bankruptcy Judges of this court for consideration and

resolution consistent with law. Therefore,

       The court ORDERS that the above-captioned action be, by way

of automatic reference, transferred to the bankruptcy court of

the Fort Worth Division of this court for consideration and

resolution consistent with law.

       SIGNED September 1, 2015.




                                                     District




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